  Case 22-19655-VFP             Doc 24 Filed 04/16/23 Entered 04/17/23 00:14:39                            Desc Imaged
                                     Certificate of Notice Page 1 of 3
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330                                                                  Order Filed on April 14, 2023
FAIRFIELD, NJ 07004-1550                                                   by Clerk
                                                                           U.S. Bankruptcy Court
973-227-2840
                                                                           District of New Jersey



IN RE:                                                       Case No.: 2VFP
 +$50875+86&+(16.
                                                             Hearing Date: 4/6/2023Judge:

                                                             VINCENT F. PAPALIA




                             INTERIM ORDER ON CONFIRMATION HEARING

   The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




         DATED: April 14, 2023
    Case 22-19655-VFP             Doc 24 Filed 04/16/23 Entered 04/17/23 00:14:39                          Desc Imaged
 Debtor(s): +(50875+86&+(16         Certificate of Notice Page 2 of 3

 Case No.: 22-VFP
 Caption of Order: INTERIM ORDER ON CONFIRMATION HEARING

       THIS MATTER having been scheduled before the Court on 04/06/2023 for a Hearing on Confirmation, and
good sufficient cause having been shown, it is:


     ORDERED, that the Debtor must pay $3,880.04 by 4/13/2023 or case will be dismissed without further notice; and
     it is further
     ORDERED, that ORDERED, that if the Debtor fails to comply with the above the Standing Trustee shall submit an
     Order Dismissing the Case without further hearings.
       Case 22-19655-VFP                    Doc 24 Filed 04/16/23 Entered 04/17/23 00:14:39                                              Desc Imaged
                                                 Certificate of Notice Page 3 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-19655-VFP
Harmut R. Huschens                                                                                                     Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 14, 2023                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 16, 2023:
Recip ID                 Recipient Name and Address
db                     + Harmut R. Huschens, 10 Bridle Way, Wantage, NJ 07461-2853

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 16, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 14, 2023 at the address(es) listed below:
Name                               Email Address
Jason Brett Schwartz
                                   on behalf of Creditor SN Servicing Corporation as servicer for U.S. Bank Trust National Association as Trustee of the Igloo
                                   Series IV Trust jschwartz@friedmanvartolo.com, bankruptcy@friedmanvartolo.com

John P. Fazzio
                                   on behalf of Debtor Harmut R. Huschens jfazzio@fazziolaw.com

Jonathan C. Schwalb
                                   on behalf of Creditor SN Servicing Corporation as servicer for U.S. Bank Trust National Association as Trustee of the Igloo
                                   Series IV Trust bankruptcy@friedmanvartolo.com, jschwalb@ecf.courtdrive.com

Marie-Ann Greenberg
                                   magecf@magtrustee.com

U.S. Trustee
                                   USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 5
